
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-04-135-CV



RICHARD T. BAUMEISTER	APPELLANT



V.



LINDA L. BAUMEISTER	APPELLEE



----------

FROM THE 233
RD
 
DISTRICT COURT OF TARRANT COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

We have considered the parties’ “First Amended Joint Motion To Dismiss Appeal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue.
 &nbsp;
See
 
Tex. R. App. P.
 42.1(d).



PER CURIAM





PANEL D:	MCCOY, J.; CAYCE, C.J.; and LIVINGSTON, J.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DELIVERED: August 31, 2004 &nbsp;

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




